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 9   UNITED STATES OF AMERICA
10
                           UNITED STATES DISTRICT COURT
11
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13    UNITED STATES OF AMERICA,          ) SA CR 08-223-AG
14                                       )
                       Plaintiff,        ) PLEA AGREEMENT FOR DEFENDANT
15                                       ) JOSE G. GARIBAY
                     v.                  )
16                                       )
      JOSE G. GARIBAY,                   )
17                                       )
                    Defendant.           )
18                                       )
                                         )
19                                       )

20
           1.   This constitutes the plea agreement between JOSE G.
21
     GARIBAY (“defendant”) and the United States Attorney’s Office for
22
     the Central District of California (“the USAO”) in the above-
23
     captioned case.      This agreement is limited to the USAO and cannot
24
     bind any other federal, state or local prosecuting,
25
     administrative or regulatory authorities.
26
                                         PLEA
27
           2.    Defendant agrees to plead guilty to counts one and six
28
     of the indictment in United States v. Lin, et al., SA CR 08-223.
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 1                            NATURE OF THE OFFENSES
 2         3.    In order for defendant to be guilty of count one, which
 3   charges a violation of Title 21, United States Code, Section 846,
 4   the following must be true: (1) there was an agreement between
 5   two or more persons to distribute narcotics; and (2) the
 6   defendant became a member of the conspiracy knowing of at least
 7   one of its objects and intending to help accomplish it.            In order
 8   for defendant to be guilty of count six, which charges a
 9   violation of Title 21, United States Code, Section 841(a)(1), the
10   following must be true: (1) the defendant knowingly possessed
11   methamphetamine or some other prohibited drug; and (2) the
12   defendant possessed methamphetamine, or some other prohibited
13   drug, with the intent to deliver it to another person.            Defendant
14   admits that defendant is, in fact, guilty of these offenses as
15   described in counts one and six of the indictment.
16         4.    Moreover, in order for defendant to be subject to the
17   statutory maximum and statutory minimum sentences set forth
18   below, the government must prove beyond a reasonable doubt that
19   defendant possessed with the intent to distribute at least 50
20   grams of methamphetamine.       Defendant admits that defendant, in
21   fact, possessed with the intent to distribute at least 50 grams
22   of methamphetamine, specifically at least 145 grams of
23   methamphetamine, as described in counts one and six of the
24   indictment.
25                                    PENALTIES
26         5.    The statutory maximum sentence that the Court can
27   impose for a violation of Title 21, United States Code, Section
28
                                          2
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 1   846, is: life imprisonment; a lifetime period of supervised
 2   release; a fine of $4,000,000 or twice the gross gain or gross
 3   loss resulting from the offense, whichever is greatest; and a
 4   mandatory special assessment of $100.00.         The statutory maximum
 5   sentence that the Court can impose for a violation of Title 21,
 6   United States Code, Section 841(a)(1), is: life imprisonment; a
 7   lifetime period of supervised release; a fine of $4,000,000 or
 8   twice the gross gain or gross loss resulting from the offense,
 9   whichever is greatest; and a mandatory special assessment of
10   $100.00.
11         6.    Therefore, the total maximum sentence for all offenses
12   to which defendant is pleading guilty is: life imprisonment; a
13   lifetime period of supervised release; a fine of $8,000,000 or
14   twice the gross gain or gross loss resulting from the offense,
15   whichever is greatest; and a mandatory special assessment of
16   $200.00.
17         7.    The statutory mandatory minimum sentence that the Court
18   must impose for a violation of Title 21, United States Code,
19   Sections 841(a)(1) and 846, is 10 years imprisonment, followed by
20   five years supervised release.
21         8.    Supervised release is a period of time following
22   imprisonment during which defendant will be subject to various
23   restrictions and requirements.       Defendant understands that if
24   defendant violates one or more of the conditions of any
25   supervised release imposed, defendant may be returned to prison
26   for all or part of the term of supervised release, which could
27   result in defendant serving a total term of imprisonment greater
28   than the statutory maximum stated above.

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 1         9.    Defendant also understands that, by pleading guilty,
 2   defendant may be giving up valuable government benefits and
 3   valuable civic rights, such as the right to vote, the right to
 4   possess a firearm, the right to hold office, and the right to
 5   serve on a jury.
 6         10.   Defendant further understands that the conviction in
 7   this case may subject defendant to various collateral
 8   consequences, including but not limited to deportation,
 9   revocation of probation, parole, or supervised release in another
10   case, and suspension or revocation of a professional license.
11   Defendant understands that unanticipated collateral consequences
12   will not serve as grounds to withdraw defendant’s guilty plea.
13         11.   Under 21 U.S.C. § 862a, defendant will not be eligible
14   for assistance under state programs funded under the Social
15   Security Act or Federal Food Stamp Act and will not be eligible
16   for federal food stamp program benefits; furthermore, any such
17   benefits or assistance received by defendant’s family members
18   will be reduced to reflect defendant’s ineligibility.
19                                 FACTUAL BASIS
20         12.   Defendant and the USAO agree and stipulate to the
21   statement of facts provided below.        This statement of facts is
22   sufficient to support pleas of guilty to the charges described in
23   this agreement and to establish the sentencing guideline factors
24   set forth in paragraph 16 below.         It is not meant to be a
25   complete recitation of all facts relevant to the underlying
26   criminal conduct or all facts known to either party that relate
27   to that conduct.
28         Beginning in early 2006 and continuing to August 27, 2008,

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 1   defendant GARIBAY distributed and knowingly and intentionally
 2   conspired with co-defendant Jerry Fanyuan Lin, Erik Damien
 3   Vicente, and others to distribute more than 50 grams of
 4   methamphetamine, specifically 145 grams of pure methamphetamine.
 5         February 2007 Distribution of Methamphetamine
 6         On or about February 8, 2007, co-defendant Vicente and
 7   defendant GARIBAY had several recorded telephone conversations
 8   regarding defendant GARIBAY supplying co-defendant Vicente with a
 9   half pound of methamphetamine which co-defendant Vicente intended
10   to sell to co-defendant Lin.       Subsequent to these conversations,
11   defendant GARIBAY provided co-defendant VICENTE with half a pound
12   of methamphetamine, specifically 145 grams of pure
13   methamphetamine.
14         Later that evening, co-defendant Lin met with an undercover
15   agent (UC) in Orange County, California in order for co-defendant
16   Lin to provide the UC with a half pound of methamphetamine.            Co-
17   defendant Lin informed the UC that they would have to travel to
18   Los Angeles County to meet with the supplier of the
19   methamphetamine.     Co-defendant Lin and the UC then met in San
20   Gabriel, California and the UC provided co-defendant Lin with
21   $4,200 in cash to purchase the methamphetamine.          Defendant Lin
22   gave to the money to a runner who in turn met with co-defendant
23   Vicente to obtain the methamphetamine.         Co-defendant Vicente
24   provided the runner with the 145 grams of pure methamphetamine he
25   had received from defendant GARIBAY.        The runner provided the
26   methamphetamine to co-defendant Lin who then gave it to the UC.
27   The UC gave co-defendant Lin an additional $3,000 to pay for it.
28   Law enforcement tested the methamphetamine and laboratory tests

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 1   confirm that it was 145 grams of pure methamphetamine.
 2                       WAIVER OF CONSTITUTIONAL RIGHTS
 3         13.   By pleading guilty, defendant gives up the following
 4   rights:
 5               a) The right to persist in a plea of not guilty.
 6               b) The right to a speedy and public trial by jury.
 7               c) The right to the assistance of legal counsel at
 8   trial, including the right to have the Court appoint counsel for
 9   defendant for the purpose of representation at trial.           (In this
10   regard, defendant understands that, despite his plea of guilty,
11   he retains the right to be represented by counsel -- and, if
12   necessary, to have the court appoint counsel if defendant cannot
13   afford counsel -- at every other stage of the proceeding.)
14               d) The right to be presumed innocent and to have the
15   burden of proof placed on the government to prove defendant
16   guilty beyond a reasonable doubt.
17               e) The right to confront and cross-examine witnesses
18   against defendant.
19               f) The right, if defendant wished, to testify on
20   defendant’s own behalf and present evidence in opposition to the
21   charges, including the right to call witnesses and to subpoena
22   those witnesses to testify.
23               g) The right not to be compelled to testify, and, if
24   defendant chose not to testify or present evidence, to have that
25   choice not be used against defendant.
26         By pleading guilty, defendant also gives up any and all
27   rights to pursue any affirmative defenses, Fourth Amendment or
28   Fifth Amendment claims, and other pretrial motions that have been

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 1   filed or could be filed.
 2                             WAIVER OF DNA TESTING
 3         14.   Defendant has been advised that the government has in
 4   its possession the following items of physical evidence that
 5   could be subjected to DNA testing: methamphetamine seized in
 6   February 2007.     Defendant understands that the government does
 7   not intend to conduct DNA testing of any of these items.
 8   Defendant understands that, before entering a guilty pleas
 9   pursuant to this agreement, defendant could request DNA testing
10   of evidence in this case.       Defendant further understands that,
11   with respect to the offenses to which defendant is pleading
12   guilty pursuant to this agreement, defendant would have the right
13   to request DNA testing of evidence after conviction under the
14   conditions specified in 18 U.S.C. § 3600.         Knowing and
15   understanding defendant’s right to request DNA testing, defendant
16   voluntarily gives up that right with respect to both the specific
17   items listed above and any other items of evidence there may be
18   in this case that might be amenable to DNA testing.           Defendant
19   understands and acknowledges that by giving up this right,
20   defendant is giving up any ability to request DNA testing of
21   evidence in this case in the current proceeding, in any
22   proceeding after conviction under 18 U.S.C. § 3600, and in any
23   other proceeding of any type.       Defendant further understands and
24   acknowledges that by giving up this right, defendant will never
25   have another opportunity to have the evidence in this case,
26   whether or not listed above, submitted for DNA testing, or to
27   employ the results of DNA testing to support a claim that
28   defendant is innocent of the offenses to which defendant is

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 1   pleading guilty.
 2                              SENTENCING FACTORS
 3         15.   Defendant understands that the Court is required to
 4   consider the factors set forth in 18 U.S.C. § 3553(a)(1)-(7),
 5   including the kinds of sentence and sentencing range established
 6   under the United States Sentencing Guidelines (“U.S.S.G.” or
 7   “Sentencing Guidelines”), in determining defendant’s sentence.
 8   Defendant further understands that the Sentencing Guidelines are
 9   advisory only, and that after considering the Sentencing
10   Guidelines and the other § 3553(a) factors, the Court may be free
11   to exercise its discretion to impose any reasonable sentence up
12   to the maximum set by statute for the crimes of conviction.
13         16.   Defendant and the USAO agree and stipulate to the
14   following applicable Sentencing Guidelines factors:
15         Base Offense Level     :      32         [U.S.S.G. § 2D1.1]
16   Subject to paragraph 20 below, defendant and the USAO agree not
17   to seek, argue, or suggest in any way, either orally or in
18   writing, that any other specific offense characteristics,
19   adjustments, or departures relating to the offense level be
20   imposed.    Defendant agrees, however, that if, after signing this
21   agreement but prior to sentencing, defendant were to commit an
22   act, or the USAO were to discover a previously undiscovered act
23   committed by defendant prior to signing this agreement, which
24   act, in the judgment of the USAO, constituted obstruction of
25   justice within the meaning of U.S.S.G. § 3C1.1, the USAO would be
26   free to seek the enhancement set forth in that section.
27   Defendant also understands that defendant’s base offense level
28   could be increased if defendant is a career offender under

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 1   U.S.S.G. §§ 4B1.1 and 4B1.2.       In the event that defendant’s
 2   offense level is so altered, the parties are not bound by the
 3   base offense level stipulated to above.
 4         17.   The parties agree that:
 5               a)   Defendant did not use violence or credible threats
 6   of violence or possess a firearm or other dangerous weapon (or
 7   induce another participant to do so) in connection with the
 8   offenses charges in counts one and eight;
 9               b)   The offenses charged in counts one and six did not
10   result in death or serious bodily injury to any person; and
11               c)   Defendant was not an organizer, leader, manager,
12   or supervisor of others in the offenses charged in counts one and
13   eight and was not engaged in a continuing criminal enterprise.
14         18.   There is no agreement as to defendant’s criminal
15   history or criminal history category.
16         19.   Defendant and the USAO, pursuant to the factors set
17   forth in 18 U.S.C. § 3553(a)(1), (a)(2), (a)(3), (a)(6), and
18   (a)(7), further reserve the right to argue for a sentence outside
19   the sentencing range established by the Sentencing Guidelines.
20         20.   The stipulations in this agreement do not bind either
21   the United States Probation Office or the Court.           Both defendant
22   and the USAO are free to: (a) supplement the facts by supplying
23   relevant information to the United States Probation Office and
24   the Court, (b) correct any and all factual misstatements relating
25   to the calculation of the sentence, and (c) argue on appeal and
26   collateral review that the Court’s Sentencing Guidelines
27   calculations are not error, although each party agrees to
28   maintain its view that the calculations in paragraph 16 are

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 1   consistent with the facts of this case.
 2                            DEFENDANT’S OBLIGATIONS
 3         21.    Defendant agrees that he will:
 4                a) Plead guilty as set forth in this agreement.
 5                b) Not knowingly and willfully fail to abide by all
 6   sentencing stipulations contained in this agreement.
 7                c) Not knowingly and willfully fail to: (i) appear for
 8   all court appearances, (ii) surrender as ordered for service of
 9   sentence, (iii) obey all conditions of any bond, and (iv) obey
10   any other ongoing court order in this matter.
11                d) Not commit any crime; however, offenses which would
12   be excluded for sentencing purposes under U.S.S.G. § 4A1.2(c) are
13   not within the scope of this agreement.
14                e) Not knowingly and willfully fail to be truthful at
15   all times with Pretrial Services, the U.S. Probation Office, and
16   the Court.
17                f) Pay the applicable special assessments at or before
18   the time of sentencing unless defendant lacks the ability to pay
19   and submits a completed financial statement (form OBD-500) to the
20   USAO prior to sentencing.
21                             THE USAO’S OBLIGATIONS
22         22.    If defendant complies fully with all defendant’s
23   obligations under this agreement, the USAO agrees:
24                a) To abide by all sentencing stipulations contained in
25   this agreement.
26                b) At the time of sentencing, provided that defendant
27   demonstrates an acceptance of responsibility for the offenses up
28   to and including the time of sentencing, to recommend a two-level

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 1   reduction in the applicable sentencing guideline offense level,
 2   pursuant to U.S.S.G. § 3E1.1, and to recommend and, if necessary,
 3   move for an additional one-level reduction if available under
 4   that section.
 5               c) To recommend that defendant be sentenced to a term
 6   of imprisonment at the low end of the applicable Sentencing
 7   Guidelines imprisonment range provided that the total offense
 8   level as calculated by the Court is 29 or higher and provided
 9   that the Court does not depart downward in offense level or
10   criminal history category.       If the low end of the range is below
11   the statutory mandatory minimum sentence that the court must
12   impose, the government will recommend the mandatory minimum
13   sentence.    For purposes of this agreement, the low end of the
14   Sentencing Guidelines imprisonment range is that defined by the
15   Sentencing Table in U.S.S.G. Chapter 5, Part A, without regard to
16   reductions in the term of imprisonment that may be permissible
17   through the substitution of community confinement or home
18   detention as a result of the total offense level falling within
19   Zone B or Zone C of the Sentencing Table.
20                              BREACH OF AGREEMENT
21         23.   If defendant, at any time after the execution of this
22   agreement, knowingly violates or fails to perform any of
23   defendant’s agreements or obligations under this agreement (“a
24   breach”), the USAO may declare this agreement breached.            If the
25   USAO declares this agreement breached at any time following its
26   execution, and the Court finds such a breach to have occurred,
27   then: (a) if defendant has previously entered guilty pleas,
28   defendant will not be able to withdraw the guilty pleas, and (b)

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 1   the USAO will be relieved of all of its obligations under this
 2   agreement.
                         LIMITED MUTUAL WAIVER OF APPEAL
 3
           24.    Defendant gives up the right to appeal any sentence
 4
     imposed by the Court, and the manner in which the sentence is
 5
     determined, provided that (a) the sentence is within the
 6
     statutory minimum and maximum specified above and is
 7
     constitutional, and (b) the Court imposes a sentence within or
 8
     below the range corresponding to a total offense level of 29 (or
 9
     the mandatory minimum sentence), and the applicable criminal
10
     history category as determined by the Court.          Notwithstanding the
11
     foregoing, defendant retains any ability defendant has to appeal
12
     the Court’s determination of defendant’s criminal history
13
     category and the conditions of supervised release imposed by the
14
     Court, with the exception of the following: conditions set forth
15
     in General Orders 318, 01-05, and/or 05-02 of this Court; the
16
     drug testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and
17
     3583(d); and the alcohol and drug use conditions authorized by 18
18
     U.S.C. § 3563(b)(7).
19
           25.    The USAO gives up its right to appeal the sentence,
20
     provided that (a) the sentence is within the statutory minimum
21
     and maximum specified above and is constitutional, and (b) the
22
     Court imposes a sentence within or above the range corresponding
23
     to a total offense level of 29, and the applicable criminal
24
     history category as determined by the Court.
25
                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE
26
           26.    Defendant agrees that if any count of conviction is
27
     vacated, reversed, or set aside, the USAO may: (a) ask the Court
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 1   to resentence defendant on any remaining count of conviction,
 2   with both the USAO and defendant being released from any
 3   stipulations regarding sentencing contained in this agreement,
 4   (b) ask the Court to void the entire plea agreement and vacate
 5   defendant’s guilty plea on any remaining count of conviction,
 6   with both the USAO and defendant being released from all of their
 7   obligations under this agreement, or (c) leave defendant’s
 8   remaining conviction, sentence, and plea agreement intact.
 9   Defendant agrees that the choice among these three options rests
10   in the exclusive discretion of the USAO.
11                                COURT NOT A PARTY
12         27.    The Court is not a party to this agreement and need not
13   accept any of the USAO’s sentencing recommendations or the
14   parties’ stipulations.       Even if the Court ignores any sentencing
15   recommendation, finds facts or reaches conclusions different from
16   any stipulation, and/or imposes any sentence up to the maximum
17   established by statute, defendant cannot, for that reason,
18   withdraw defendant’s guilty pleas, and defendant will remain
19   bound to fulfill all defendant’s obligations under this
20   agreement.    No one –- not the prosecutor, defendant’s attorney,
21   or the Court –- can make a binding prediction or promise
22   regarding the sentence defendant will receive, except that it
23   will be within the statutory maximum.
24                           NO ADDITIONAL AGREEMENTS
25         28.    Except as set forth herein, there are no promises,
26   understandings or agreements between the USAO and defendant or
27   defendant’s counsel.      Nor may any additional agreement,
28   understanding or condition be entered into unless in a writing

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